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Western District of Washington oo

AO 106 (Rev. 04/10) Application for a Search Warrant

 

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

ewer, MT 20- SOY

Three Apple iPhones, more fully described in Attachment
A, which are currently in the possession of the Federal
Bureau of Investigation

APPLICATION FOR A SEARCH WARRANT

Ne el a a ne ie

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

p "Pree ABD IS hones tore faliy Sécribed in Attachment A, which are currently in the possession of the Federal
Bureau of Investigation at the Olympia, Washington Resident Agency Office

located in the Western District of Washington , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
© evidence of a crime;
contraband, fruits of crime, or other items illegally possessed;
@ property designed for use, intended for use, or used in committing a crime;
C] a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. 1951(a) Extortion Under Color of Official Right

The application is based on these facts:

See Affidavit of Special Agent Richard Schroff attached hereto and incorporated herein

CI Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: __ ) is requested
under 18 U.S.C. § 3103a, the basis of which is set fort thé attaghed sheet.

   

 

Applicant's signature
FBI Special Agent Richard Schroff

Printed name and title

 

Sworn to before me pursuant to CrimRule 4.1.

pate: Narch tl, 2020 Heuwra b. File

Judge's signature

City and state: Tacoma, Washington Magistrate Judge Theresa L. Fricke
Printed name and litle
 

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AFFIDAVIT

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COUNTY OF PIERCE

I, Richard C. Schroff, a Special Agent with the Federal Bureau of Investigation,
having been duly sworn, state as follows:

L INTRODUCTION AND PURPOSE OF AFFIDAVIT

1. I make this affidavit in support of an application under Rule.41 of the Federal
Rules of Criminal Procedure for a search warrant authorizing the examination of three
electronic devices — three Apple iPhones, more fully described in Attachment A,
(collectively, the “Digital Devices) — which are currently in law enforcement possession, and
the. extraction. from these devices the electronically stored information described in
Attachment B.

2. The Federal. Bureau of Investigation (FBI) and the Lewis County Joint
Narcotics Enforcement Team (JNET) are currently conducting a public corruption
investigation involving the introduction of contraband, including illicit drugs, by correctional
staff into the Washington State Green Hill School, a medium/maximum security juvenile
correctional facility, located in Chehalis, Washington, in exchange for cash payments in
violation of Title 18, United States Code, Section 1951(a), Extortion Under Color of Official
Right. Based upon the investigation to date, there is probable cause to believe that the
Digital Devices will contain evidence, fruits, and instrumentalities of violations of the 18
US.C. § 1951(a).

Hi. AFFIANT BACKGROUND

3. Iam a Special Agent (SA) with the FBI, and have been employed as a criminal
investigator with the FBI since July of 2014. I am a graduate of the FBI Academy in
Quantico, Virginia, and have attended various other trainings such-as the U.S. Department of

Justice, Asset Forfeiture/Money Laundering Section’s Basic Financial Investigation Seminar,

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the FBI’s economic crimes conference, and the FBI’s public corruption seminar. The FBI is
responsible for enforcing federal criminal statutes of the United States. While employed by
the FBI, { have investigated violent crime, internet child exploitation, violations involving
controlled substances, public corruption and civil rights violations, and other criminal
matters which can generally be referred to as white collar crime. I have gained experience
through training and everyday work relating to conducting these types of investigations. I
have also regularly applied for and been granted search warrants for both physical locations
and electronic records, searched or had others conduct searches, and used evidence found
during those search warrants to further my criminal investigations. As a federal law
enforcement officer engaged in enforcing the criminal laws of the United States, I am
authorized by the Attorney General to apply for search warrants.

4. The facts set forth in this Affidavit are based on my own personal knowledge,
knowledge obtained from other individuals during my participation in this investigation,
including other law enforcement officers, review of documents and records relating to this
investigation, communications with others who have personal knowledge of the events and
circumstances described herein, and information gained through my training and experience.

5. Because this Affidavit is submitted for the limited purpose of establishing
probable cause in support of the application for search warrant, it does not set forth each and
every fact that I or others have learned during the course of this investigation; rather I have
included only those facts that I believe are necessary to establish probable cause to believe
that evidence, fruits and instrumentalities, of the above-described violations, as more fully
described in Attachment B, will be found on. the Digital Devices, as described in Attachment
A.

I. RELEVANT LEGAL PROVISIONS

6. Title 18, United States Code, Section 1951(a), Extortion Under Color of
Official Right, provides that it is a violation of federal law when a public official obtains
money that the public official knows the public official is not entitled to receive with the

knowledge that the money was given in return for taking some official action. In addition,

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commerce or the movement of an article or commodity in commerce from one state to
another was or would have been affected in some:way. As discussed in more detail below,
probable cause exists to believe that evidence, fruits and instrumentalities of Title-18, United
States Code, Section 1951(a), as more fully described in Attachment B, will be found on the
Digital Devices, as described in Attachment A.
IV. PROBALE CAUSE

A. Green Hill School

7. Green Hill School (GHS) is a medium/maximum security juvenile
rehabilitation facility located in Chehalis, Washington. The Washington State Department of
Children, Youth, & Families — Juvenile Rehabilitation (DCYF) operates GHS. Pursuant toa
Memorandum of Understanding with the Washington State Department of Corrections
(DOC), GHS houses individuals in Washington State’s Youth Offender Program. A

youthful offender is any person. under the age of 18 who is tried; convicted, and sentenced as

an adult. Through the Youth Offender Program, these individuals.are housed at a DCYF

Juvenile Rehabilitation facility like GHS to ensure their medical, mental health, and

developmental needs are addressed. Since July 2019, youthful offenders can reside at GHS

‘until they reach the age of 25. At that point, if there is time remaining on their sentence, the

individual is transferred to DOC custody.
B.  .Information Concerning GHS Staff Involvement in Introducing Contraband
8. On January 23, 2020, INET Detectives, GHS Security personnel, the Lewis

‘County Prosecutor, and I met with an individual (Individual #1)! who was housed at in the

Maple Unit of GHS at the time. During the interview, Individual #1 stated that it was easy to
buy drugs from other GHS residents. Individual #1 said that residents were often given the

 

' Individual #1 has violent felony convictions for which he is serving his sentence at GHS. Given the significant risk of
retribution to Individual #1 for providing the information discussed herein, Thave not provided additional information
that others may use to identify him.

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marijuana for free and then later paid for it by having someone on the outside pay for the
marijuana using the mobile application, Cash App.”

9.. Individual #1 said that a number of the residents at GHS were members of a
violent street gang. Early in his time at GHS, Individual #1 was frequently involved in
fights. At some point, a member of the gang approached Individual #1 and told him that he
could continue to fight every day or Individual #1 could work for the gang by holding onto
drugs prior to their distribution. Individual #1 agreed to hold onto marijuana for the gang

member. Individual #1 stated that the held a total of seven packages with the most recent

tinie being three days prior to the interview. Individual #1 said he was paid in marijuana for
holding onto the drugs and was offered the most comfortable level of housing known as
“Level 4” by the gang member. Individual #1 knew that only GHS staff could award Level
4, which I confirmed in later interviews. In spite of that, Individual #1 was given Level 4
housing shortly after making the agreement with the gang member. Individual #1 said that
drugs were smuggled into GHS three ways: (1) brought in by corrupted staff members; (2)
smuggled in during visitation; and (3) brought in by residents transferred from DOC custody.
10. Individual #1 also identified three staff members who worked in the Maple

Unit that he thought were involved in the introduction of contraband into GHS. Individual
#1 described interactions he had with two of the GHS staff members, Julio Hayes and

With respect to Hayes, Individual #1 said that Hayes let Individual #1
smoke marijuana in the shower, and at a different time, when Individual #1 mentioned
wishing he had a lighter, Hayes responded, in sum and substance, that “You just have to pay
for it.” According to Individual #1, Hayes charged $26 for a lighter. I interviewed
Individual #1 a second time several days after to the first interview. In that second interview,

I asked again about purchasing lighters from Hayes. Individual #1 said Hayes told them to

 

? | know that Cash App is a mobile application that allows users to send money to each other through the app. The user
can be idenitified a number of ways, but most frequently they are known by their Cash Tag, e.g. $JohnDoe.

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just use a battery. With respect to , Individual #1 stated:that gave him a
screwdriver one time so. Individual #1 could hide drugs inside. a light.

11. According to Individual #1, at the time of the interview, there were three
contraband iPhones in Individual #1’s unit at GHS.*

12. During the course of my investigation, .I learned that on or about January 16,

2020, GHS staff found an Apple iPhone in the top of the garbage in the Maple Unit.
According to GHS staff, in the evening of January 14, 2020, they became suspicious that a
resident in the Maple Unit had a smart phone in his possession after receiving a tip from an
individual outside GHS that the resident-was making contact with individuals outside GHS
through social media. As a result, GHS staff strip searched the resident and searched his
room, but did not find a smart phone. The next day, January 15, 2020, GHS staff again
searched rooms and reported hearing a phone ring, but did not find anything. On January 16
2020, an Apple iPhone was found in the garbage of the Maple Unit. GHS. staff attempted to

charge the phone, but was unsuccessful. Furthermore, the SIM card was not in the iPhone

>

and the screen appeared to have a fresh crack in it. Thus, GHS staff assumed the resident
smashed the phone-on the ground in an attempt to disable it before putting. it in the garbage
can. This Apple iPhone Model A1688 with a silver colored back is one of the Digital
Devices described on Attachment A.

13. On January 29, 2020, GHS staff informed JNET that GHS staff had obtained
and secured possible drug evidence in the facility. A Chehalis Police Officer responded to
GHS arid secured the evidence, and a JNET Detective picked up the evidence from the °
Chehalis Police Department.

 

3 Approximately one week after my interviews with Individual #1, I learned information from GHS Security staff that
led me to believe that Individual #1 himself'was engaged in some nefarious behavior involving the introduction of
narcotics‘into GHS. Specifically, I learned that a‘GHS staff member had overheard another resident telling his mother to
send a text or money through Cash App to someone who may bé Individual #1’s wife. After learning this information, I
had no further contact with Individual #1. Furthermore, during the search of the Maple Unit on February 26, 2020
(discussed below), GHS staff found non-drug contraband, including a picture of what appeared to be a police report, in
Individual #1’s room.

 

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14. This evidence was a blue colored nitrile type glove containing a white granule
type substance. The substance was field tested for cocaine, amphetamine, and fentanyl, but
the results came back negative, though the testing detective told me there was some form of
reaction between the substance and the test kit. The evidence (glove.and substance) was put
into an evidence bag and weighed with a total weight of 70.2 grams. The unknown
substance is pending further testing at the Washington State Crime Lab..

Cc. Julio Hayes

15. On February 25, 2020, I oversaw an operation conducted by the FBI and JNET
involving Julio Hayes or two of the possibly corfupt GHS staff-members
Individual #1 identified in his interview. As part of the operation, we decided to perform
surveillance in an area of Chehalis leading to the entrance of GHS to attempt to. contact one
or both of the two on their way to work at GHS to see if they ‘were in possession of
contraband. That afternoon, members of an FBI surveillance team observed Hayes driving
his vehicle, a white Subaru Impreza with Washington license plate BMZ6395, driving:
toward Chehalis. I:informed other law enforcement officers to conduct a traffic stop on
Hayes if he was observed violating any traffic laws. A JNET Detective observed Hayes
driving 35 MPH in a 25 MPH zone. At that point, the INET Detective directed a Chehalis
Police K9 Officer to perform a traffic stop on Hayes’ Impreza.

16. The K9 Officer pulled Hayes over arid a JNET Detective parked his unmarked
police vehicle behind the K9 Officer’s marked patrol vehicle.. The K9 Officer approached
Hayes’ Impreza, and Hayes provided the K9 Officer with Hayes’ license, registration and
insurance, The insurance cards were expired. At that point, the INET Detective approached,
identified himself to Hayes, and asked if Hayes had any drugs or weapons in the vehicle.
Hayes replied that he did not. The JNET Detective asked Hayes to exit the Impreza so that
the K9 Officer and his K9 partner, Tiesto,* could conduct an outer sniff of the Impreza.
Hayes said yes, exited the Impreza and walked to the sidewalk while the JNET Detective

 

4 Tiesto is trained and certified to detect the odors of methamphetamine, heroin, and cocaine.

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began writing a traffic citation. The K9 Officer deployed Tiesto on a narcotics sniff of the
exterior of the Impreza, and Tiesto alerted to the right rear passenger side door handle, front
door passenger door handle, and the driver side door handle. Around this time, Hayes
informed the JNET Detective that he did in fact have a small amount of marijuana inside his
backpack and explained that the marijuana was wrapped inside rubber gloves to keep the
smell down.

17. At that point, the JNET Detective read Hayes his Miranda rights. Hayes
acknowledged that he understood his rights. and agreed to talk further. Hayes gave verbal

consent for law enforcement to search his backpack and vehicle, and he explained there was

only 3.5 grams of marijuana in ‘his backpack. The JNET Detective asked Hayes where he

worked, and Hayes said he worked at Green Hill, and that he starts at 3:00. p.m.

’ 18. Another JNET Detective retrieved and searched Hayes’ backpack. Inside the
backpack, he found several blue rubber.gloves (or the fingers of the gloves) with marijuana
in them. Based upon what appeared to be a significant amount of marijuana which appeared
to be packaged for distribution, Hayes was placed under arrest and transported to the
Chehalis Police Department. Hayes’ Impreza was secured at the scene and then transported
to the Centralia evidence storage. A JNET Detective applied for.and obtained a state
telephonic search warrant by the Honorable James Buzzard. Hayes had provided his consent
to search the vehicle, both verbally and by signing an FBI FD-26, consent to search, form.
The investigative team decided to.pursue a search warrant out of an abundance of caution.

19. Upon searching the Impreza, law enforcement officers found a trench type coat
in the backseat. Inside the coat, the officers found three vape pen type cartridges wrapped
inside the fingers of a blue rubber glove. which Hayes later confirmed to be “dabs” 5 of liquid
marijuana. They also found a pill bottle in Hayes’ name for Hydrocodone-Acetaminophen.
The JNET Detective found 12 pills inside the bottle marked with “SG 181.” The Detective

 

5 In.my training and experience I.know Dabs to be a derivative form of marijuana which can-be smoked. In his interview
(see below), Hayes confirmed that he. understood dabs to be a marijuana product.

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searched for that code on the website drugs.com and learned it was assigned to the scheduled
prescription drug Gabapentin.

20. At the Chehalis Police Department, a JNET Detective and I interviewed Hayes.
Hayes was again provided with an advisement of his Miranda rights and signed a form

indicating he understood his rights and wished to speak without an attorney present. During

the interview, Hayes admitted to introducing contraband for several residents incarcerated in

GHS. Hayes admitted that he started doirig so approximately six months ago when Resident
16 asked Hayes to bring him chewing tobacco and Hayes agreed. Hayes also admitted .
smuggling marijuana into GHS for Resident 1. In addition, Hayes stated that he smuggled
contraband into GHS for Resident 2 and Resident 3, including marijuana, vape pens, “dabs,”
and lighters. With respect to Resident 2, Hayes admitted: to meeting with one-of Resident 2’s
family members outside of GHS on approximately three occasions where he received drugs
from them to later introduce into GHS for Resident 2. The drugs included one that was a
white powder and another that was a brown powder, though Hayes claimed to not know
exactly what they were. Hayes stated that he smuggled in mobile phones for all three
recipients. He received the mobile phones from the residents’ family members (either
directly or through the mail), and subsequently smuggled them into GHS for the residents.
Based upon my review of Hayes’ phone discussed in detail below, the residents used the
mobile phones to communicate with Hayes about the introduction of contraband and the
illicit payments to Hayes in exchange for these acts. They also used mobile apps, such as
Cash App, to pay bribes to Hayes in return for his smuggling of contraband. The also told
Hayes they had coordinated with other people outside of GHS to have them pay bribes to

Hayes in exchange for the contraband introduction.

 

§ 1 refer to those currently in custody as residents of GHS by a number instead of their name (e.g., Resident 1). I do so for
their own safety, While they appear to be co-conspirators in my investigation, they are in a custodial environment and

are either members of or are exposed to violent gangs. Out of concer for their safety, their names are omitted in this

Affidavit.
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21. Hayes. admitted that the residents and/or their family members paid money: to
Hayes for introducing the contraband. He stated that he charged them between $100 and
$200 per mobile phone. For marijuana, he claimed he charged the recipients twice what he
paid for it ina Washington State licensed marijuana retailer. For example, when Hayes
bought $20 worth of marijuana outside GHS, he charged inmates $40 - $20 for the cost of
the marijuana and $20 as payment to Hayes. Hayes said he received half of his payment in
cash from the residents and half on Cash App from either residents.or family members
outside GHS.

22. During the interview, Hayes repeatedly tried to minimize his conduct or
mislead investigators. For example, he initially said that be had only brought in marijuana
for the residents but later, during different portions of the interview, admitted to introduction
of the phones, vape pens, dabs, and other drugs. Further, he initially told us that he only
purchased marijuana for introduction himself, though later he then admitted to meeting. with
Resident 2’s family and receiving phones for introduction from Resident 2 and 3’s families.
He also initially said he only met with Resident 2’s family once, but later admitted he met
with them on several occasions. I repeatedly confronted Hayes about his minimizations and
omissions and told him that false statements could be a Federal crime. After being
confronted, Hayes repeatedly apologized and said that he would stop omitting information or
minimizing.

23. Hayes gave me permission to search his mobile phone and signed a consent to
search form to document his consent. I searched the phone in Hayes’ presence. I found text
messages that Hayes told me. were communications between him and a family member of
Resident 2 and communications with Resident 2’s girlfriend. These messages discussed
which contraband Hayes would smuggle to Resident 2, the method and amount-of payment,
and meeting in person to provide Hayes the contraband. There were also text messages -
between two contacts that were saved in Hayes’ contacts as a single letter (as opposed to a
first and last name). Hayes said that one was for Resident 2 and the other for Resident 3,

who were both incarcerated inside GHS at the time of the communications. I reviewed the

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messagés and the following are examples of what was written between Hayes (H) and
Resident 2 (R2) on January 5, 2020:
a. R2: “Hell yeah aye so what’s going. on are you under investigation or

what’s going on?”?

b. H: “No it’s being dropped”

c. R2: “Okay koo so your still good to bring shit?”

d. H: “yeah”

e. R2:“Wussup can you bring me a cartridge N Kush when you come in?”

f. H: “Small amourits yes”
The following are examples of what was written between Hayes (H) and Resident 3 (R3) on
January 22, 2020:

a. R3: “She sent the shut fir the ounce and cartridge”

b. H: “Yes just got it”

Cc. R3: “Don’t forget a lighter bro”

d. H: “Yeah”
e. R3: “Aye give it to me before movement”
f. H: “Ok”

24. At the end of his interview, Hayes was released from custody. I have been
informed that GHS has terminated Hayes’ employment with DCYF.
D. GHS’s Unit Search.

25. The day after Hayes’ interview, February 26, 2020, in response to Hayes’
statements concerning his introduction of contraband into the facility, the GHS Facility

Manager, using staff from a different living unit, conducted a unit search in the unit Hayes

‘(and the other two alleged corrupt staff) worked. The GHS Facility Manager used other staff

in order to ensure that any staff in the unit who had introduced contraband into the unit could

not tell residents to hide or destroy any contraband.

 

7 GHS staff has not informed me of any previous misconduct investigations related to Hayes.

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26. The GHS Facility Manager directed the staff conducting the search to search
the entire unit building and have all residents complete a strip search before returning to their
assigned rooms. During the search, the staff found numerous items of contraband in
approximately 19 different residents’ rooms® and a common area, including, among other
things, two of the Digital Devices:?

a. an iPhone Model A1660 with a gold colored back found inside the
intercom aresident’s room;!° and

‘b. an iPhone Model A1660 with.a silver colored back found behind the
intercom system inside Resident 3’s room.

27. GHS staff also found numerous items indicative of drug distribution and use,
including, among other things: marijuana (including some found inside a glove), empty
gloves (including one box:of gloves), four empty finger tips from a glove, nine empty smail
zip lock plastic bags (consistent with drug-bags), a vape pen, an e-cigarette adapter, and a
lighter.

E. The Digital Devices

28. On January 30, 2020, GHS staff turned over the mobile phone found in the
garbage can on January 16, 2020, to me. On February 27, 2020, GHS staff turned over the
two mobile-phones GHS staff found during the February:26, 2020, search to me. Based

upon the evidence found on Hayes’ mobile phone, I believe that evidence of the bribery

scheme to introduce illicit contraband will be found on the.Digital Devices, including

messages between residents and Hayes, messages between residents and other corrupt staff,

 

8 Some of the items were hidden in the speaker boxes in the rooms.

® The third Digital Device was located in the garbage can in January 2020 as discussed above.

10 This resident was not Resident 1, 2, or 3 nor was it a resident discussed during interview with Hayes. I know from
training and’ experience that cell phones inside custodial environments are often shared among different inmates.
Sometimes the inmates will change sim cards in the phones. A sim card allows a phone to communicate with a cellular
network but does not store data related to the-use of the phone, such as text messages, That data will remain on-the phone
unless a-user takes specific actions to delete it. Even then, using certain forensic tools, that data may be recoverable by
investigators. : te

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and messages between residents and individuals outside GHS who help facilitate the bribery

‘scheme.

29. While DCYF and the FBI might already have all necessary authority to search
these Digital Devices, I seek this search warrant out’ of an abundance of caution that.an
examination of the Digital Devices will comply with the Fourth Amendment and other
applicable laws.

30. The Digital Devices are currently in storage at the Olympia Resident Agency
of the FBI’s Seattle Division. In my training and experience, I know that the Digital Devices
have been stored in a manner in which its contents are, to the extent material to this
investigation, in substantially the same state as they were when the Digital Devices first
came into the possession of GHS staff.

31. [know from my training and experience that the presence of electronic
devices, specifically mobile phones, presents a significant risk to the safety and security of
custodial facilities like GHS. First, the use of mobile phones may allow residents to
corimunicate with individuals outside the facility to orchestrate and facilitate the
introduction of contraband into the facility through, among other things, placing and
receiving calls, text messaging, using other messaging apps, and using payment apps, like
Cash App, to exchange money. Secorid, the use of mobile devices inside a custodial facility
to coordinate the smuggling of contraband, such as illicit substances, also creates a threat to
staff, inmates, and communities. The presence of illicit mobile phones and the contraband
they facilitate the introduction of may: (1) lead to residents assaulting staff or other inmates
while in an altered state of mind from drug use: (2) lead to violence or be used themselves to
protect lines of supply and distribution networks; and (3) be used to retaliate against staff -
who are not compromised and seek to enforce the rules. In a notable example, a supervisory
corrections officer in a corrections department located.in the U.S. Southeast was brutally
assaulted in an attempted murder in his home in an attack coordinated from inside a
cortectional facility using a contraband cell phone. Further, the presence of contraband

phones allows inmates to conduct covert communications outside of correctional facilities’

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monitored lines with other members of violent street gangs or other criminals and to
participate in other criminal activity committed from inside custodial facilities against
members of the community.
Vv. TECHNICAL TERMS
32. Based on my training and experience, I use the following technical terms to
convey the following meanings:

a. Wireless telephone: A wireless telephone (or mobile telephone,
or cellular telephone) is a handheld wireless device used for voice and data communication
through radio signals, These telephones send signals through networks of
transmitter/receivers, enabling communication with other wireless telephones or traditional
“Jand line” telephones. A wireless telephone usually contains a “call log,” which records the
telephone number, date, and time of calls made to and from the phone. In addition to
enabling voice communications, wireless telephones offer a broad range of capabilities.
These capabilities include: storing names and phone numbers in electronic “address books;”
sending, receiving, and storing text messages and e-mail; taking, sending, receiving, and
storing still photographs and moving video; storing and playing back audio files; storing
dates, appointments, and other information on personal calendars; and accessing and.
downloading information from the Internet. Wireless telephones may also include global
positioning system (“GPS”) technology for determining the location of the device.

b. Digital camera: A digital camera is a camera that records
pictures as digital picture files, rather than by using photographic film. Digital cameras use a
variety of fixed and removable storage media to store their recorded images. Images can
usually be retrieved by connecting the camera to a computer or by connecting the removable
storage medium to a separate reader. Removable storage media include various types of
flash memory cards or miniature hard drives. Most digital cameras also include a screen for
viewing the stored images. This storage media can contain any digital data, including data
unrelated to photographs or videos.

Cc. Portable media player: A portable media player is a handheld

‘|| digital storage device designed primarily to store and play audio, video, or photographic

files. However, a portable media player can also store other digital data. Some portable
media players can use removable storage media. Removable storage media include various
types of flash memory cards or miniature hard drives. This removable storage media can
also store any digital data. Depending on the model, a portable media player may have the
ability to store very large amounts of electronic data and may offer additional features such
as a calendar, contact list, clock, or games.

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d. GPS: A GPS navigation device uses the Global Positioning
System to display its current location. It often contains records the locations where it has
been. Some GPS navigation devices can give a user driving or walking directions to another
location. These devices can contain records of the addresses or locations involved in such °
navigation. The Global Positioning System (generally abbreviated “GPS”) consists of 24
NAVSTAR satellites orbiting the Earth. Each satellite contains an extremely accurate clock.
Each satellite repeatedly transmits by radio a mathematical representation of the current
time, combined with a special sequence of numbers. These signals are sent by radio, using
specifications that are publicly available. A GPS antenna on Earth can receive those signals.
When a GPS antenna receives signals from at least four satellites, a computer connected to
that antenna can mathematically calculate the antenna’s latitude, longitude, and sometimes
altitude with a high level of precision.

€. PDA: A personal digital assistant, or PDA, is a handheld
electronic device used for storing data (such as names, addresses, appointments or notes) and
utilizing computer programs. Some PDAs also function as wireless communication devices
and are used to access the Internet and send and receive e-mail. PDAs usually include a
memory card. or other removable storage media for storing data and a keyboard and/or touch
screen for entering data. Removable storage media include various types of flash memory
cards or miniature hard drives. This removable storage media can store any digital data.
Most PDAs run computer software, giving them many of the same capabilities as personal
computers. For example, PDA users can work with word-processing documents,
spreadsheets, and presentations. PDAs may also include global positioning system (“GPS”)
technology for determining the location of the device.

f. IP Address: An Internet Protocol address (or simply “IP
address”) is a unique numeric address used by computers on the Internet. An IP address is a
series of four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).
Every computer attached to the Internet computer must be assigned an IP address so that
Internet traffic sent from and directed to that computer may be directed properly from its
source to its destination. Most Internet service providers control a range of IP addresses.
Some computers have static—that is, long-term—IP addresses, while other computers have
dynamic—that is, frequently changed—IP addresses.

g. Internet: The Internet is a global network of computers and other
electronic devices that communicate with each other. Due to the structure of the Internet,
connections between devices on the Internet often cross state and international borders, even
when the devices communicating with each other are in the same state.

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33. Based on my training, experience, and research, I know that an Apple iPhone
has capabilities that allow it to serve as a wireless telephone, digital camera, portable media
player, GPS navigation device, and a PDA. I also know that an Apple iPhone can be used to
access the Internet to, among other things, search the world wide web, transmit messages

through the iPhone’s iMessaging app, through text messages, and through other apps, such as

Facebook, WhatsApp, Twitter, Snapchat, and Instagram. In my training and experience,

examining data stored on devices of this type can uncover, among other things, evidence that
reveals or suggests who possessed or used the device.
VI. ELECTRONIC STORAGE AND FORENSIC ANALYSIS

34. Based on my knowledge, training, and experience, I know that electronic
devices can store information for long periods of time. Similarly, things that have been
viewed via the Internet are typically stored for some. period of time on the device. This
information can sometimes be recovered with forensics tools.

35. There is probable cause to believe that things that were once stored on the
Digital Devices may, still be stored there, for at least the following reasons:

a Based on:my knowledge, training, and experience, I know that computer
files or remnants of such files can be recovered months or even years after they have been
downloaded onto a storage‘medium, deleted, or viewed via the Internet. Electronic files
downloaded to a storage medium can be stored for years.at little or no cost. Even when files
have been deleted, they can be recovered months or years later using forensic tools. This is
so because when a person “deletes” a file on a computer, the data contained in the file does
not actually disappear; rather, that.data remains on.the storage medium until it is overwritten

|| by new data.

b. Therefore, deleted files, or remnants of deleted files, may reside in free
space or slack space—that is, in space on the storage medium that is not currently being used
by an active file—for long periods of time before they are overwritten. In addition,.a
computer’s operating system may also keep a record of deleted data in a “swap” or
“recovery” file.

c. Wholly apart from user-generated files, computer storage media—in
particular, computers’ internal hard drives—contain electronic evidence of how a computer
has been used, what it has been used for, and who has used it. To give a few examples, this
forensic evidence can take the form of operating system configurations, artifacts from

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operating system or application operation, file system data structures, and virtual memory
“swap” or paging files. Computer users typically do not erase or delete this evidence,
because special software is typically required for that task. However, it is technically
possible to delete this information.

d. Similarly, files that have been! viewed via the Internet are sometimes
automatically downloaded into a temporary Internet directory or “cache.”

36. There is probable cause to believe that the Digital Devices ate permeated with
evidence of the bribery scheme. As noted-above, my review of Hayes’ phone revealed that
he was communicating directly with residents concerning the introduction of contraband into
GHS and the illicit payments.the residents made to him in‘return. Some of those illicit
payments may have been made through mobile apps, like Cash App, on the Digital Devices.
Furthermore, since, oni at least a few occasions, Hayes was meeting up with residents’
relatives to obtain the contraband to smuggle into GHS, it is likely there are communications
between the residents and their friends and family concerning the bribery scheme. —

37. Forensic evidence. As further described in Attachment B, this application
seeks permission to locate not only electronically stored information that might serve as
direct evidence of the crime described on the warrant, but also forensic evidence that
establishes how the Digital Devices were used, the purpose of their use, who used them, and
when. There is probable cause to believe that this forensic electronic evidence might be on
the Digital Devices because data on the storage medium can provide evidence of a file that
was once on the storage medium but has since been deleted or edited, or of a deleted portion
of a file (such as a paragraph that has been deleted from a word processing file).

38. Manner of execution. Because this warrant seeks only permission to examine a
device already in law enforcement’s possession, the execution of this warrant does not
involve the physical intrusion onto a premises. Consequently, I submit there is reasonable

cause for the Court to authorize execution of the warrant at any time in the day or night.

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VI. DIGITAL:DEVICES AS INSTRUMENTALITIES OF THE CRIMES

39. As noted above, the Digital Devices were critical instrumentalities of the
bribery scheme. First, the Digital Devices were likely! contraband that Hayes admitted to
smuggling into GHS in return for illicit payment. Furthermore, the Digital Devices allowed
the inmates to communicate directly with Hayes, and possibly other corrupt staff, in order to
set up the scheme, including ordering specific contraband, such as marijuana, and
negotiating and executing payment.

VI. PAST EFFORTS.TO OBTAIN. ELECTRONICALLY.STORED
INFORMATION

40. There have been no past efforts to obtain electronically stored content of the

sort that is presumably located on the Digital Devices.
IX. SEARCH TECHNIQUES
4]. Based on the foregoing, and consistent with Rule 41(¢)(2)(B) of the Federal

 

Rules of Criminal Procedure, the warrant I ain applying for will permit imaging or otherwise
copying all data contained on the Digital Devices, and will specifically authorize a review of
the media or information consistent with the warrant.

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"! Hayes admitted to introducing two Apple iPhones and a “Droid”, which I understood to not be an Apple device. Tlie
three devices we are applying to search are Apple iPhones.

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42. In accérdance with the information in this affidavit, law enforcement personnel
will execute the search of the Digital Devices pursuant to this. warrant’as follows:

a. Securing the Data

L In order to examine the ESI in a forensically sound manner, law
enforcement personnel with appropriate expertise will attempt to produce a complete
forensic image, if possible and appropriate, of the Digital Devices.”

ii. | Law enforcement will only create an image of data physically
present on or within the Digital Devices. Creating an image of the Digital Devices will not
result in access to any data physically located elsewhere. However, Digital Devices that
have previously connected to devices at other locations may contain data from those other
locations.

b. Searching the Forensic Images

Searching the forensic images for the items described in Attachment B may
require a range of data analysis techniques. In some cases, it is possible for agents and
analysts to conduct carefully targeted searches that can locate evidence without requiring a
time-consuming manual search through unrelated materials that may be commingled with
criminal evidence. In other cases, however, such techniques may not yield the evidence
described in the warrant, and law enforcement may need to conduct more extensive searches
to locate evidence that falls within the scope of the warrant. The search techniques that will
be used will be only those methodologies, techniques and protocols as may reasonably be
expected to find, identify, segregate and/or duplicate the items authorized to be seized
pursuant to Attachment B to this affidavit.

X. REQUEST FOR SEALING
43. It is respectfully requested that this Court issue an order sealing, until further
order of the Court, all papers submitted in support of this application, including the

 

‘2 The purpose of using specially trained computer forensic examiners to conduct the imaging of digital devices or other
électronic storage media is to ensure the integrity of the evidence and to follow proper, forensically sound, scientific
procedures. When the investigative agent is a trained computer forensic.examiner, it is not always necessary to separate
these duties. Computer forensic examiners often work closely with investigative personnel to assist investigators in their
search for digital evidence. Computer forensic examiners are needed because they generally have technological
expertise that investigative agents do not possess. Computer forensic examiners, however, often lack the factual arid
investigative expertise that an investigative agent may possess on any given case. Therefore; it is often important that
computer forensic examiners and investigative personnel work closely. together.

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application and search warrant. I believe that sealing these documents is necessary because
the investigation is ongoing. Specifically, I am still investigating whether additional GHS
staff were corrupted into smuggling contraband into GHS. I am also continuing to
investigate the full scope of involvement by other residents and individuals on the outside
who helped facilitate the bribery scheme. If these warrant materials were left unsealed, other
subjects of the investigation could tamper with witnesses or alter or destroy evidence,
including digital evidence on the other subjects’ mobile phones. Thus, premature disclosure
of the contents of this affidavit and related documents may have a significant and negative
impact on the continuing investigation and may severely jeopardize its effectiveness.
VI. CONCLUSION

44. Based on the above, there is probable cause to believe that the crime of
Extortion Under Color of Official Right, in violation of 18 U.S.C. § 1951(a) has been
committed and that evidence, as more fully described in Attachment B, will be present on the
Digital Devices. Therefore there is probable cause for a search warrant authorizing the
examination of the Digital Devices described in Attachment A to seek the items described in
Attachment B.

RICHARD C. SCHROFF
Special Agent
Federal Bureau of Investigation

The above-named agent provided a sworn statement attesting to the truth of the
foregoing affidavit on the 11th of March, 2020.

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THERESA L. FRICKE
United States Magistrate Judge

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ATTACHMENT A
Items to be Searched
The items to be searched are the Digital Devices, currently in in storage at the
Olympia, Washington Resident Agency of the FBI’s Seattle Division:
a. an iPhone Model A1660 with a gold colored back found inside the
intercom a resident’s room;
b. an iPhone Model A1660 with a silver.colored back found behind the
intercom system inside Resident 3’s room;
c. An iPhone Model A1688 with a silver colored back found in-the
garbage of the wing where Hayes was assigned to work.
This warrant authorizes the forensic examination of the Digital Devices forthe

purpose of identifying the electronically stored information described in Attachment B.

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ATTACHMENT B
Items to be Searched for and Seized

The items to be seized are the following records on the Digital Devices described in
Attachment A that are evidence of violations of Extortion Under Color of Official Right,
Title 18, United States Code, Section 1951(a):

1. Assigned number and identifying telephone serial number (ESN,

MIN, IMSI, or IMEI);
2. Stored list of recent received, sent, or missed calls;
3. Stored contact information;
4, Stored communications, including email, 13 text messages (including short

‘|| message service (SMS) and multimedia messaging service (MMS)), iMessages, and text

messages or other communications on social media platforms such as Facebook Messenger,
WhatsApp, Snapchat, Instagram, TikTok, Kik, Cash App, or.any other communication
service capable of sending and receiving written or visual communications.

5. Any notes, journals, logs, ledgers, or other lists which may account for the
purchase and sale of contraband;

6. All communications logs indicating other devices and communications devices
the subject deyices may have communicated with along with the corresponding date and
time.

7. All payments through mobile payment accounts, such as Cash App or Apple
Cash, which would allow a user to send or receive currency or any other instrument with
value such as digital currency, such as Bitcoin, stocks, bonds, precious metals, or any other
valuable item that can be exchanged as a form of payment. |

8. Videos or photographs related to Extortion Under Color of Official Right, Title
18, United States Code, Section 1951(a), or videos or photographs that may show the user of

 

5 This warrant only authorizes seizure of emails stored on the Digital Devices, and does not permit seizure of emails
stored on servers, the cloud, or other locations.

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the phone and/or co-conspirators, including any embedded GPS data associated with these
photographs;
9. Records of Internet or browsing activity related to Extortion Under Color of
Official Right, Title 18, United States Code, Section 1951(a); and
10. User, subscriber, or log information which may indicate which accounts may

have been used on the devices and by which user.

 

 

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